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14                       IN THE UNITED STATES DISTRICT COURT
15                            FOR THE DISTRICT OF ARIZONA
16
17   United States of America,                       No. CR-18-422-PHX-SMB

18                        Plaintiff,                  UNITED STATES’ UNOPPOSED
                                                     MOTION TO EXTEND DEADLINE
19            v.                                         FOR RESPONSES, AND
                                                       DEFENDANTS’ REPLIES, TO
20                                                    DEFENDANTS’ SUBSTANTIVE
     Michael Lacey, et al.,                                   MOTIONS
21                        Defendants.                          (Second Request)
22
23         On October 25, 2019, the Court granted the government’s motion to extend the
24   deadline to file responses to Defendants’ substantive motions and to extend Defendants’
25   deadline to file their reply briefs. (Doc. 795.) That Order extended the government’s
26   responses to November 22, 2019, and correspondingly extended Defendants’ replies to
27   December 16, 2019.       Given the volume and variety of Defendants’ motions, the
28   government is requesting a brief extension to November 27, 2019 for the following
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 1   motions:
 2          -      Defendant Lacey’s Motion to Suppress (Doc. 775);
 3          -      Defendants’ Motion to Compel Production of Brady Material (Doc. 777);
 4          -      Defendants’ Motion to Suppress (Doc. 778);
 5          -      Defendant Spear’s Motion for Bill of Particulars (Doc. 781);
 6          -      Defendants’ Joint Motion to Dismiss Indictment for Grand Jury Abuse Or,
 7                 in the Alternative, for Disclosure of Grand Jury Transcripts (Doc. 782);
 8          -      Defendants’ Motion to Dismiss Indictment Based On Section 230 of the
 9                 Communications Decency Act Or, Alternatively, As Void for Vagueness
10                 (Doc. 783);
11          -      Defendant Vaught’s Motion to Sever (Doc. 784);
12          -      Defendant Vaught’s Motion to Strike Surplusage From the Indictment (Doc.
13                 785); and
14          -      Defendant James Larkin’s Motion to Suppress (Doc. 786).
15          The government has conferred with counsel for Defendants and there are no
16   objections. Similarly, the government does not oppose an extension for Defendants to file
17   their replies in support of the substantive motions. Currently the deadline is December 16,
18   2019, and the parties have agreed to an extension to December 23, 2019.
19          Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion or
20   an order based thereon.
21          Respectfully submitted this 21st day of November, 2019.
22                                             MICHAEL BAILEY
                                               United States Attorney
23                                             District of Arizona
24                                             s/ Andrew C. Stone
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25                                             MARGARET PERLMETER
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28                                             Special Assistant U.S. Attorney

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 6
 7
 8
 9
10
11                               CERTIFICATE OF SERVICE
12
            I hereby certify that on November 21, 2019, I electronically transmitted the attached
13
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
14
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
15
     as counsel of record.
16
17   s/ Angela Schuetta
     Angela Schuetta
18   U.S. Attorney’s Office
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